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CLASS SETTLEMENT AGREEMENT

This Class Settlement Agreement (the “Agreement” or the “Settlement”) is
entered into by and among William Wittman and Amber Bellamy (collectively,
“Plaintiffs”), for themselves and the Settlement Class (as defined below), on the
one hand, and CB1, Inc. (“CB1”), on the other hand, to resolve the action entitled
Wittman v. CBI, inc., United States District Court for the District of Montana,
Billings Division (the “Court”), Case No. CV-16-0281 (the “Litigation”)}. CBi,
Class Counsel (as defined below) and Plaintiffs hereby stipulate and agree that, in
consideration of the promises and covenants set forth in this Agreement and upon
entry by the Court of a Final Approval Order (as defined below), all claims of
Plaintiffs and the Settlement Class against CB1 in the Litigation shall be settled,
compromised and released upon the terms and conditions contained herein,

| RECITALS

This Agreement is made with reference to and im contemplation of the
following facts and circumstances:

Nature of the Litigation, On October 22, 2015, Plaintiffs, individually and
on behaif of a putative class, filed a Complaint in the Litigation seeking actual and
statutory monetary damages, and declaratory relief, against CB1 based on CB1’s
alleged violation of the Fair Debt Collection Practices Act, 15 U.S.C. 1692, e¢ seg,

and the Montana Consumer Protection Act, § 30-14-101, ef seg. Mont. Code Ann.
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In particular, Plaintiffs alleged that CB1 misled Plaintiffs and putative class
members in debt collection communications as to CBI’s ability to collect a
surcharge on credit and debit card payments, and improperly collected such
surcharges when Plaintiffs and putative class members made payments to CB1
using a credit or debit card.

Denial of Liability, CB1 denied liability to Plaintiffs and the putative class
for the claims alleged, but now considers it desirable that the Litigation and the
claims alleged therein be settled upon the terms and conditions set forth in this
Agreement, in order to avoid the burden, expense, risk and uncertainty of
continuing these proceedings. |

Meditation of Dispute. After briefing a motion to dismiss, obtaining a
decision on that motion and conducting discovery, Class Counsel and CB1
mediated this dispute with a private mediator on November 1, 2016, and im
connection therewith, submitted detailed confidential mediation briefs, engaged in
extensive, good faith arm’s length negotiations concerning settlement and reached
a settlement in principle. This Agreement resulted from, and is the product of,
those court proceedings, written discovery and private mediation.

Opinion of Counsel. John Heenan, of BISHOP, HEENAN & DAVIES, and
D. Michael Eakin, of EAKIN, BERRY & GRYGIEL, PLLC, (collectively, “Class

Counsel”) investigated the facts and law underlying the claims asserted in the

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Litigation, and requested and reviewed data and documents produced by CB1.
Based on the foregoing, and upon an analysis of the benefits which this Agreement
affords the Settlement Class, Class Counsel considers it to be in the best interest of
the Settlement Class to enter this Agreement,

Plaintiffs’ Assent to Settlement, Plaintiffs, individually and on behalf of
the Settlement Class, desire to settle the Litigation upon the terms and conditions
set forth in this Agreement. In doing so, Plaintiffs, individually and on behalf of
the Settlement Class, have taken into account the risks, delay and difficulties
involved in establishing a right to recovery in excess of that offered by this
Agreement and the likelihood that the Litigation will be further protracted and
expensive, with no guarantee of success.

No Admission, The Parties understand, acknowledge and agree that the
execution of this Agreement constitutes the settlement and compromise of disputed
claims without trial or adjudication of any issue of fact or law. This Agreement and
any exhibits hereto are inadmissible as evidence against any Party except to
enforce the terms of the Settlement. This Agreement is not an admission of
wrongdoing or liability on the part of any Party to this Agreement, It is the Parties’
desire and intention to effect a full, complete and final settlement and resolution of

all existing disputes and claims as set forth herein.
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NOW, THEREFORE, in light of the foregoing, for good and valuable
consideration, the receipt of which is hereby mutually acknowledged, Plaintiffs
and CBI agree to the Settlement, subject to approval by the Court, as follows:

TERMS

1. Effective Date, This Agreement shall become effective (hereinafter
the “Effective Date”) upon (1) the Court’s entry of a final order approving this
Agreement as fair, reasonable and adequate to the Settlement Class and dismissing
the claims of Plaintiffs and the Settlement Class against the Released Parties (as
defined below) with prejudice (the “Final Approval Order”); and (2) the
expiration of five (5) days after the time the Final Approval Order becomes a final,
non-appealable order, or if an appeal has been sought, the expiration of five (5)
days after the disposition of any such appeal from any such final order, judgment
and decree, which disposition approves the Final Approval Order, the terms and
provisions of this Agreement, and the consummation of the settlement in
accordance with the terms and provisions of this Agreement.

2. Conditional Certification of the Settlement Class. Solely for the
purposes of settling the Litigation, providing Class Notice and implementing this
Agreement, the Parties agree to conditional certification of a class that consists of
the following: “All persons who, during the period October 22, 2013 to the date of

Preliminary Approval, paid a surcharge for credit or debit card use in making a
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payment to CBI” (the “Settlement Class”). Preliminary certification of the
Settlement Class shali not be deemed a concession that certification of a litigation
class is appropriate, nor is CB1 precluded from challenging class certification in
further proceedings in the Litigation or in any other action if the Settlement is not
finalized or finally approved. If the Settlement is not finally approved by the Court
for any reason whatsoever, the certification of the Settlement Class will be void,
and no doctrine of waiver, estoppel or preclusion may be asserted in any litigated
certification proceedings in the Litigation or in any other action. No agreements
made by or entered into by CB1 in connection with the Settlement may be used by
Plaintiffs, any person in the proposed Settlement Class or any other person to
establish any of the elements of class certification in any litigated certification
proceedings, whether in the Litigation or any other judicial proceeding.

3. Size of Class, Class Representatives and Class Counsel, There are
approximately 11,709 members of the Settlement Class including the named
Plaintiffs, who collectively paid approximately $96,000 in surcharges on credit and
debit card payments to CB1. The identities of the Settlement Class members were
obtained through a search of CB1’s records for the relevant time period. The
parties stipulate that Plaintiffs Wittman and Bellamy shall be appointed as
Settlement Class representatives pursuant to Federal Rule of Civil Procedure 23(g).

John Heenan and D. Michael Eakin shall be appointed as Class Counsel,
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4, Relief_to the Settlement Class. In settlement of the claims of

Plaintiffs and the Settlement Class, CB1 shall pay within 21 days of Preliminary
Approval (as defined below) the total cash sum of $400,000 (the “Settlement
Fund”) to the Class Administrator (as defined below) for distribution in
accordance with the terms of this Agreement and the further order of the Court.
Funding of the Settlement Fund represents CB1’s total monetary obligation under
the Settlement to pay claims, attorney’s fees, costs, expenses and settlement
administration costs related to this Litigation, CB1 will not take any position
regarding, and will not object to, the Court-approved distribution of the Settlement
Fund, CBt shall not be entitled to any reverter from the Settlement Fund.
Upon approval by the Court, the Administrator will send Settlement Class
members who do not opt out of the Settlement Class a check for their pro rata
share of the funds remaining in the Settlement Fund. The checks shall be void 60
days after issuance. Any uncashed/unclaimed funds shall be distributed within 14
days after the void date to Family Service, Inc. for use in consumer education
and/or debt counseling and assistance.

5. Release and Released Parties, Plaintiffs and each Settlement Class
member, their assigns, heirs, successors, and personal representatives not opting
out as of the Effective Date of the Agreement, release and forever discharge CB]

and its predecessors, successors, assigns, agents, representatives, affiliates
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(including any parent, subsidiary, or division), holding companies, unincorporated
business units, joint venturers, partners, insurers, officers, directors, shareholders,
managers, employees, servants, representatives, officials, attorneys, associates and
trustees (in their capacities as such) (“Released Parties”) of and from all claims of
Settlement Class members relating to (i) the receipt of a letter regarding the
payment of a surcharge on a debt or credit card payment, (ii) CB1’s collection of a
surcharge on a debit or credit card payment, or (iti) a claim that was or could have
been asserted in the Complaint arising during the class period. Plaintiffs Wittman
and Bellamy provide the same release as the Settlement Class members and further
generally release CB1 for any claims, known or unknown, that were made or
which could have been made against CB1 for anything of any kind or nature
whatsoever that occurred from the beginning of time up through and including the
date the Court grants final approval to the Settlement (collectively with the release
provided by the Settlement Class, the “Releases”),

6, Agreement Conditioned Upon Court Approval, If this Agreement
is not approved by the Court or for any reason does not become effective, it shall
be deemed null and void and shall be without prejudice to the rights of the parties
hereto and shall not be used in any subsequent proceedings in this or any other

litigation, or in any manner whatsoever.
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7. Attorney’s Fees, Notice Costs and Related Matters. Class
Counsel’s costs, expenses and reasonable attorney’s fees shall be paid from the
Settlement Fund subject to Court approval, Class Counsel will not request
additional fees or costs from Defendant CBI or the Settlement Class members, and
Defendant CBi will not oppose or cause to be opposed an application for
attorneys’ fees and costs by Class Counsel. Class Counsel have agreed among
themselves as to the division of the fees,

8. Administrator. Kurtzman Carson Consultants (“KCC”) shall be
retained as the “Claims Administrator” to handle distribution of notice and
settlement checks to the Settlement Class.

9. Notice. Within 30 days of entry of the “Preliminary Approval

Order” in the form of Exhibit B, the Claims Administrator shail cause actual

 

notice via a postcard sent by U.S. mail, in the form of Exhibit A (the “Notice”), to
be sent to the last known addresses of the Settlement Class members, according to
Defendant CB1’s records. In the event that a Notice is returned as undeliverable
and a forwarding address is provided, the Claims Administrator shall forward any
such returned Notice to the address provided as soon as practicable,

10, CAFA Notice. The Claims Administrator shall be responsible for

timely delivery of all required CAFA notice pursuant to U.S.C. § 1715(b).
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li. Opt-Out Requirements. Settlement Class members may opt out of
the Settlement by sending a written request to the Claims Administrator at the
address designated in the Notice by the opt-out and objection deadline as set by the
Court. Exclusion requests must: (i) be signed by the Settlement Class member; (ii)
include the full name and address of the Settlement Class member requesting
exclusion; and (iii) include the following statement: “I/we request to be excluded
from the settlement in the Wittman action.” No request for exclusion will be valid
unless all of the information described above is included. No Settlement Class
member, or any person acting on behalf of or in concert or participation with that
Settlement Class member, may exclude any other Settlement Class member from
the Settlement Class. After the opt-out and objection deadline, no Settlement Class
member shall be allowed to object to the Settlement or exclude himself, herself or
itself from the Settlement Class or seek to intervene. In its sole discretion and at its
sole option, CBI reserves the right, but not the obligation, to terminate this
Agreement if the total number of opt-outs exceeds 235 Settlement Class members,

12, Retention of Exclusions. The Parties shall instruct the Claims
Administrator to retain a copy of all requests for exclusion and, upon written
request, to provide copies of any such requests to counsel for the Parties, Class

Counsel will keep any such opt-out information confidential and use it only for
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purposes of determining whether a Settlement Class member has properly opted

out.

13.

Preliminary Approval, As soon as practicable after execution of the

Agreement, the parties shall make application to the Court for an order which:

14.

a.

b.

Preliminarily approves this Agreement;

Certifies the Settlement Class defined in Paragraph 2 for settlement
purposes;

Appoints William Wittman and Amber Bellamy as class
representatives;

Appoints KCC as Claims Administrator;

Appoints John Heenan and Mike Eakin as Class Counsel; and
Schedules a hearing for final approval of the Agreement by the Court.

Preliminary Approval Order. The Parties shall request the form of

notice attached hereto as Exhibit A and propose the form of Preliminary Approval

Order attached hereto as Exhibit B, The fact that the Court may require non-

substantive changes in the notice or order does not invalidate this Agreement,

15,

Final Approval. At the conclusion of, or as soon as practicable after

the close of the hearing on the fairness, reasonableness and adequacy of the

Agreement, the parties shali request that the Court enter a “Final Order”

approving the terms of the Agreement as fair, reasonable and adequate, providing

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for the implementation of those terms and provisions, finding that the notice given
to the Settlement Class satisfies the requirements of due process and Rule 23,
dismissing the claims of the named Plaintiffs and the Settlement Class with
prejudice and without costs, and finding that the parties have complied with the
requirements of the Class Action Faimess Act of 2005, 28 U.S.C.§ 1711 et. seq.

16. Release of Attorney’s Lien. In consideration of this Agreement,
Class Counsel hereby waive, discharge and release the Released Parties of and
from any and all claims for attorney’s fees, by lien or otherwise, for legal services
rendered by Class Counsel in connection with this case. Class Counsel further
represent and certify that they will pay any amounts due for attorney’s fees
pursuant to agreement with them, and hold the Released Parties harmless from any
such claim.

17. Miscellaneous provisions, The Parties and their attorneys agree to
cooperate fully with one another in seeking Court approval of the Agreement, and
to use their best efforts to effect the consummation of this Agreement and the
Settlement provided for herein, Whether or not this Agreement and the Settlement
contemplated hereunder are consummated, this Agreement and the proceedings
had in connection herewith shall not be construed as, or be deemed to be, evidence
of an admission or concession on the part of CB1 of any liability or wrongdoing

whatsoever.

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18. Objection Requirements, To be heard at the hearing, the Settlement
Class member must make an objection in writing and file it with the Court by the
by the opt-out and objection deadline as set by the Court. The objection must also
be mailed to each of the following, postmarked no later than the last day to file the
objection: (i) Class Counsel — John Heenan, BISHOP, HEENAN & DAVIES,
1631 Zimmerman Trail Billing, Montana 59102; and (ii) CB1’s Counsel — James
A. Rolfes, REED SMITH LLP, 10 South Wacker Drive, 40th Floor, Chicago,
Illinois 60606, The objection must contain (a) information sufficient to
demonstrate that the objector is a member of the Settlement Class; (b) include a
statement of such Settlement Class member’s specific objections; and (c) state the
grounds for such objections, as well as identify any documents which such objector
desires the Court to consider. Only those specific objections, grounds and
documents that comply with the requirements in this paragraph may be presented
to the Court.

19. No Admissions, CB1 expressly disclaims and denics any wrongdoing
or liability whatsoever. This Settlement, and any and all negotiations, statements,
documents, and/or proceedings in connection with this Settlement, shall not be
construed or deemed to be evidence of an admission or concession by CB1 of any
ability or wrongdoing by CBI or any of its affiliates, agents, representatives,

vendors, or any other person or entity acting on its behalf, and shall not be

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construed or deemed to be evidence of an admission or concession that any person
suffered compensable harm or is entitled to any relief, Neither the Settlement, nor
any act performed or document executed pursuant to or in furtherance of the
Settlement: (i) is or may be deemed to be or may be used as an admission of, or
evidence of, the validity of any claim released by this Agreement, or of any
wrongdoing or liability of CB1; (i) is or may be deemed to be or may be used as
an admission of, or evidence of, any fault or omission of CB1 in any civil,
criminal, or administrative proceeding in any court, administrative agency or other
tribunal; or (iii) is or may be deemed a waiver of CBI’s right to challenge class
certification if this Settlement for any reason does not become final.

20, Evidentiary Preclusion, Neither the Settlement, nor any act
performed or document executed pursuant to or in furtherance of the Settlement:
(i) is or may be deemed to be or may be used as an admission of, or evidence of,
the validity of any claim released by this Agreement, or of any wrongdoing or
liability of the Released Parties; or (ii) is or may be deemed to be or may be used
as an admission of, or evidence of, any fault or omission of the Released Parties in
any civil, criminal or administrative proceeding in any court, administrative agency
or other tribunal. In addition, neither the fact of, nor any documents relating to,
CBl’s withdrawal from the Settlement, any failure of the Court to approve the

Settlement and/or any objections or interventions may be used as evidence for any

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purpose whatsoever. The Released Parties may file the Settlement Agreement
and/or the judgment in any action or proceeding that may be brought against them
in order to support a defense or counterclaim based on principles of res judicata,
collateral estoppel, release, good faith settlement, judgment bar or reduction or any
other theory of claim preclusion or issue preclusion or similar defense or
counterclaim.

21. Entire Agreement, The foregoing constitutes the entire agreement
between the parties hereto with regard to the subject matter hereof and may not be
modified or amended except in writing, signed by all parties hereto, and approved
by the Court.

22. Counterparts, This Agreement may be executed in counterparts, in
which case the various counterparts shall be said to constitute one instrument for
all purposes. The several signature pages may be collected and annexed to one or
more documents to form a complete counterpart. Photocopies or facsimiles of
executed copies of this Agreement may be treated as originals.

23, Binding Agreement, Each and every term of this Agreement shall be
binding upon and inure to the benefit of Plaintiffs, the members of the Settlement
Class, and any of their successors and personal representatives, and shall bind and
shail insure to the benefit of the Released Parties, all of which persons and entities

are intended to be beneficiaries of this Agreement.

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24. Governing Law. This Agreement shall be governed by and
interpreted in accordance with the law of the State of Montana.

25, Receipt of Advice of Counsel, Each Party acknowledges, agrees and
specifically warrants that he, she or it has fully read this Agreement and the
Releases contained in the Agreement, received independent legal advice with
respect to the advisability of entering this Agreement and the Releases, and the
legal effects of this Agreement and the Releases, and fully understands the effect

of this Agreement and the Releases.

26. Notices, Unless otherwise indicated herein, all notices to counsel

provided for herein shall be sent by e-mail with a hard copy sent by overnight mail

 

to:

As to Plaintiffs and Settlement Class: As to CBI:

John Heenan James A, Rolfes

Email: jheenan@bhdlawyers.com Email: jroifes@ReedSmith.com
BISHOP, HEENAN & DAVIES REED SMITH LLP

1631 Zimmerman Trail 10 South Wacker Drive, 40th Floor
Billings, Montana 59102 Chicago, Illinois 60606

D. Michael Eakin

Email: eakin.406law@gmail.com
EAKIN, BERRY & GRYGIEL, PLLC
2815 Montana Ave.

Billings, Montana 59101

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IN WITNESS WHEREOF, the parties hereto have so agreed on December

 

 

6, 2016.
Plaintiffs CBI, Inc.

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William Wittman Cary McWAtt, President CBI, Inc,

 

 

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John ‘Fleenan Janfes . Rolfes
piston HEENAN & DAVIES R MITH LLP
163] Zimmerman Trail 10 South Wacker Drive
Billings, Montana 59102 Chicago, Hlinois 60606
‘Ayn or Plaintiffs Attorneys for CBI, Inc,
ee ae

 

D. Michael Eakin

EAKIN, BERRY & GRYGIEL, PLLC
2815 Montana Ave,

Billings, Montana 59101

Attorneys for Plaintiffs

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IN WITNESS WHEREOP, the parties hereto have so agreed on December

 

 

 

 

 

6, 2016.
Plaintiffs CBI, Inc.

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William Wittman Cary MeNAtt, President CB1, Inc.
Amber Bellamy
John Heenan Japfes A. Rolfes { ¥
BISHOP, HEENAN & DAVIES R MITE LLP

1631 Zimmerman Trail
Billings, Montana 59102
Attorneys for Plaintiffs

 

D, Michael Eakin

EAKIN, BERRY & GRYGIEL, PLLC
2815 Montana Ave.

Billings, Montana 59101

Attorneys for Plaintiffs

10 South Wacker Drive
Chicago, Hlinois 60606
Altiorneys for CBI, Inc.

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EXHIBIT “A”
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If you made a payment to CBI, Inc. using a credit or debit card on or after October 22, 2013, you may be
entitled to a payment from a Class Action Settlement that could affect your rights.

This Court-Authorized Notice describes your rights and gives information about the proposed Settlement in Witanan, et al. v.
CBI, fie., Case No, 1:15-cv-165-BLG-BMM (D. Montana). \

A Seitlement Agreement has been reached in a class action lawsuit that alleges CBI, Inc. (““CB1”) improperly collected a
surcharge for credit or debit card use. You have received this Notice because CB}'s records indicate that you paid a surcharge to
CBI on or after October 22, 2013 and, consequently, are a member of a Settlement Class entitled to a settlement payment from a
$400,000 Settlement Fund established to pay claims, attomey’s fees, costs, expenses and settlement administration costs related
to this litigation. The amount paid fo each Settlement Class member will be approximately $13.32. If you want to receive this
settlement payment, you do not need to do anything further and a check will be mailed to you at your last known address as soon
as possible after the settlement becomes final.

You may, however, choose to either (i) exclude yourself from the Settlement Class if you do not want to receive apayment from
the Settlement Fund, or {ii) object to the Setttement if you do not want the Court to approve the Settlement. The Court has
appointed attorneys to represent the Settlement Class. The attorneys serving as Class Counsel are John Heenan of Bishop,
Heenan & Davies, 1631 Zimmennan Trail, Billings, MT 59102 and Mike Eakin of 406 Law, 2815 Montana Ave., Billings, MT
59101. You will not be charged for their work and can contact them at (406} 839-9091 or (406) 969-6001. Class Counsel will
request an award for attemey’s fees and expenses from the Court that will be paid from the Settlement Fund prior to distributions
to Settlement Class members. You also may hire your own altomey to advise you regarding this Seltlement, but only at your own
expense.

YOUR OPTIONS:

*DO NOTHING. A check will be mailed to you as soon as the settlement becomes final. You will waive your right to sue CBI
for collecting a surcharge.

‘OPT OUT. Ifyou do not want to participate in the Settlement, you can exclude yourself from the Settlement and keep your right
to sue CBI, To exclude yourself from the Settlement, you must send a written request for exclusion postmarked by [[deadline]],
to {[claims administrator address]}.

*OBJECT. Ifyou do not exclude yourself from the Settlement, you or your lawyer may appear before the Court and

object to the Settlement or to Class Counsel’s request for an award of attorney’s fees. Any objections to the Settlement or the
Altomey’s Fees Request, along with any supporting material must be postmarked by XXCXX and filed

with the Court by that date with copies mailed to John Heenan of Bishop, Heenan & Davies, 1631 Zimmerman Trail, Billings,
MT 59102 and James A. Rolfes, Reed Smith LLP, 10 South Wacker Drive, Chicago, [L 60605. Untimely objections and material
not filed will not be considered.

If you do not exclude yourself from the Settlement, you will be bound by the terms of the Settlement and give up your rights to
sue CBI for any claim relating to the CB1’s collection of a surcharge on a credit or debit card payment. The Court will
determine whether to approve the Settlement at a Faimess Hearing scheduled to take place on {[date, time}] at the United States
District Court for the District of Montana, 125 Central Avenue West, Great Falls, MT 59404,

This notice is only a summary. Complete details about your rights and options are available at con or by
contacting the Claims Administrator at . Do not call the Court.

FOR MORE INFORMATION PLEASE VISIT THE SETTLEMENT WEBSITE at
hitp:/Awww.[LNSERT].com
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EXHIBIT “B”
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA

BILLINGS DIVISION

WILLIAM WITTMAN and AMBER CV-15-105-BLG-BMM
BELLAMY, for themselves and all others
similarly situated,

Plaintiffs, PRELIMINARY APPROVAL ORDER

Vs.

CB1, INC.,

Defendant.

 

 

This matter coming before the Court on the Plaintiffs’ Unopposed Motion for
Preliminary Approval of a Class Settlement and Conditional Certification of a Settlement
Class, the Court being fully advised, and for good cause appearing therefrom,

IT IS HEREBY ORDERED:

1, The Court finds that the proposed Settlement is reasonable, fair, and
adequate and grants preliminary approval to it.

2. For the purposes of settlement, the Court certifies a Settlement Class
pursuant to F. R. Civ. P. 23 that consists of all persons who, during the period October
22, 2013 to the date of preliminary approval, paid a surcharge for credit or debit card use
in making a payment to CBI.

3, Plaintiffs William Wittman and Amber Bellamy are appointed as

Settlement Class Representatives. John Heenan and Mike Eakin are appointed as Class -

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Counsel pursuant to F, R. Civ. P. 23(g). Kurtzman Carson Consultants is appointed as
Claims Administrator.

4, A hearing on the faimess and reasonableness of the Settlement and

whether final approval shail be given to it will be held before this Court on
, 2017,

5. The Court approves the proposed form of Notice to the Settlement Class,
to be directed to the last known address of the Settlement Class members as shown on
Detendant’s records. The Claims Administrator will mail, or cause to be mailed, notice
to Settlement Class members within 15 days of the entry of this Order.

6. The Court finds that mailing of the Notice is the only notice required and
that such Notice satisfies the requirements of due process and F. R. Civ. P, 23(c)(2)(B).

7, Settlement Class members shall have 45 days from the date the Claims
Administrator mails the Notice to opt out or object to the proposed settlement. Any
objection must include the name, address and contact information of the party and/or the
party’s lawyer and a statement of the reasons why the objector believes that the Court
should find that the proposed Settlement is not in the best interests of the Settlement
Class. Objectors who have filed written objections to the Settlement may also appear at
the hearing and be heard on the fairness of the Settlement.

DATED this __ day of December, 2016.

 

Brian Morris
United States District Court Judge

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